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11
12                  IN THE UNITED STATES DISTRICT COURT
13                FOR THE NORTHERN DISTRICT OF CALIFORNIA
14   ROTHSCHILD STORAGE                    Case No. 3:15-cv-00541 – EDL
15   RETRIEVAL INNOVATIONS, LLC,
16
                       Plaintiff,          PLAINTIFF’S RESPONSE IN
17                                         OPPOSITION TO DEFENDANT
18   APPLE INC.,                           APPLE INC.’S MOTION TO STAY
                                           PENDING INTER PARTES REVIEW
19                     Defendant.
20
                                           Date: April 28, 2015
21                                         Time: 2:00 p.m.
22                                         Courtroom: E, 15th Floor
23                                         Judge: Hon. Elizabeth D. Laporte

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 1         Apple1 has not met its burden to stay this case, based upon an inter partes
 2   review (“IPR”) that has not been granted and was filed by a non-party to the
 3   case, should be denied because it is speculative, guarantees no simplification of
 4   issues, and could prejudice RSRI by preventing it from prosecuting its claims
 5   until this case is over two-and-a-half years old.
 6         First, the ’797 patent 2 is not subject to any IPR. The United States Patent
 7   and Trademark Office (“USPTO”) will not decide Google Inc.’s (“Google”)
 8   petition for IPR (IPR2015-00474) (the “Google IPR petition”) (D.I. 65-2) until
 9   at least July 2015. Apple has failed to demonstrate a pressing need to halt district
10   court proceedings and speculatively wait for a USPTO decision. Only after and
11   if the USPTO decides to review the ’797 patent should the Court consider
12   whether a stay would result in any efficiencies or simplification of matters.
13   Staying district court proceedings based on what the USPTO might do is
14   speculative and will only delay and harm RSRI’s patent rights. The Court should
15   keep this case moving and adjust only if necessary after the USPTO issues its
16   decision.
17         Second, Apple asks the Court to delay all proceedings based on pure
18   speculation that the issues would be simplified. Why stop this lawsuit in its
19   tracks if, three months from now, the USPTO decides to deny the IPR petition or
20   accept IPR for only a few of the sixteen claims at issue? Even if the IPR is
21   instituted, the parties cannot know now whether the claims subject to IPR will be
22   the same claims that RSRI asserts here. And there is no estoppel provision
23   preventing Apple from re-asserting the same arguments denied by the USPTO in
24   any granted IPR given that it is not a party to that IPR.
25
26   1
       “Apple” hereinafter refers to Defendant Apple Inc.
     2
27    The “’797 patent” hereinafter refers to the patent-in-suit, U.S. Patent No.
     8,437,797.
28
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 1         Third, despite Apple’s knowledge of the ’797 patent since the beginning
 2   of this suit in July 2014, Apple chose not to file its own IPR petition and then
 3   waited three more months to file its motion to stay after Google’s IPR petition.
 4   Apple has already refused to participate in discovery when the issue of transfer
 5   was still in dispute. Now that the case has been transferred, Apple continues to
 6   refuse to participate in discovery by filing this Motion to Stay. Apple should not
 7   be allowed to hinder the Court’s obligation to ensure that this case is just,
 8   speedy, and inexpensive. At a minimum, the Court should defer a decision on
 9   the stay until after the USPTO determines, in July 2015, whether it will initiate
10   the requested IPR petition and which claims in the ’797 patent, if any, the
11   proceeding will address. The Court and parties will then be able to meaningfully
12   determine whether some form of stay, in whole or in part, might be appropriate.
13
     I.    FACTUAL BACKGROUND
14
15         RSRI filed its original complaint on July 16, 2014 in the Southern District
16   of Florida, alleging Apple infringed the ’797 Patent. (D.I. 1). RSRI also filed six
17   other complaints against six other defendants—Sony Mobile, HTC, Samsung,
18   LG, Nokia, and Motorola—alleging infringement of the ’797 Patent. On
19   September 12, 2014, Apple filed a partial motion to dismiss and declined to
20   answer. (D.I. 12). In response, RSRI filed its First Amended Complaint two
21   weeks later. (D.I. 14, 15). On September 29, Apple filed a motion to transfer to
22   the Northern District of California. (D.I. 16). Apple then answered RSRI’s First
23   Amended Complaint on October 14, 2014. (D.I. 18).
24         On December 8, 2014, RSRI served Apple its First set of Interrogatories
25   and First Set of Requests for Production. (Lo Decl. Ex. A, B). Apple served its
26   objections on January 7, 2014, and refused to provide any answers or production
27   until after the Motion to Transfer was resolved. (Lo Decl. Ex. C, D).
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 1         This case was transferred to this Court on January 30, 2015. (D.I. 51). The
 2   Initial Case Management Conference is currently set for May 5, 2015. (D.I. 64).
 3         On December 19, 2014, Google filed an IPR petition with the PTAB,
 4   challenging the validity of claims 1-16 of the ’797 Patent, and identified the real-
 5   parties-in-interest (“RPI”) in that IPR as Google Inc. and Motorola Mobility
 6   LLC. (D.I. 65-2). Apple Inc. was not identified as an RPI in the Google IPR.
 7   RSRI may choose to file its initial response by April 20, 2015. 37 C.F.R. §
 8   42.107(a)-(b). If RSRI files its initial response, the PTAB’s decision whether to
 9   institute the IPR petition will be as late as July 20, 2015. 35 U.S.C. § 314(b).
10
     II.   IPR STATISTICS
11
12         As of March 5, 2015, the percentage of petitions for IPR being instituted
13   has steadily decreased from 87% to 74%. (Lo Decl. Ex. E). That statistic will
14   likely continue to decrease, as the Chief Administrative Judge of the USPTO has
15   stated that “too many petitioners are winning [and] patent owners are having
16   claims declared unpatentable too often.” (Lo Decl. Ex. F). Q. Todd Dickinson,
17   the former undersecretary of commerce for intellectual property and director of
18   the USPTO, stated he is “growing increasingly concerned over the number of
19   cases the office has handled and how few times it has allowed amendments to
20   claims during proceedings – less than half a dozen.” Id. There are “strong
21   concerns about the rules that have been adopted and the way those rules have
22   been interpreted by the board.” Id.
23         As of January 15, 2015, 9,048 claims were challenged in 617 IPR
24   petitions. (Lo Decl. Ex. G). Of all the claims challenged, 2,934 claims were not
25   instituted (32.43%). Id. Of the 6,114 claims for which an IPR was instituted,
26   2,176 claims were found unpatentable. Id. This is 24.05% of all claims originally
27
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 1   challenged in the IPR petitions. On the other hand, 3,045 claims that were
 2   initially challenged were found patentable and remained patentable (33.65%). Id.
 3
     III.   ARGUMENTS AND AUTHORITY
 4
 5          In evaluating motions to stay pending IPR, courts generally consider the
 6   following non-exclusive factors: “(1) whether discovery is complete and a trial
 7   date has been set; (2) whether a stay would simplify the issues in question and
 8   trial of the case, (3) whether a stay would unduly prejudice or present a clear
 9   tactical disadvantage to the non-moving party.” Asylus Networks, Inc. v. Apple,
10   Inc., 2014 WL 5809053, at *1 (N.D. Cal. Nov. 6, 2014 (internal citation
11   omitted)). Ultimately, the inquiry turns upon the totality of the circumstances.
12   Universal Elecs., Inc. v. Universal Remote Control, Inc., 943 F. Supp. 2d 1028,
13   1031 (C.D. Cal. 2013). Nevertheless, “[t]here is no per se rule that patent cases
14   should be stayed pending reexaminations, because such a rule ‘would invite
15   parties to unilaterally derail’ litigation.” Tokuyama Corp. v. Vision Dynamics,
16   LLC, 2008 WL 4452118, at *2 (N.D. Cal. Oct. 3, 2008) (quoting Soverain
17   Software LLC v. Amazon.com, Inc., 356 F. Supp. 2d 660, 662 (E.D. Tex. 2005)).
18   See also Comcast Cable Commc’ns Corp., LLC v. Finisar Corp., 2007 WL
19   1052883, at *1 (N.D. Cal. Apr. 5, 2007) (“If litigation were stayed every time a
20   claim in suit undergoes reexamination, federal infringement actions would be
21   dogged by fits and starts. Federal court calendars should not be hijacked in this
22   manner.”).
23          Apple has the burden to show that a stay is appropriate. Nken v. Holder,
24   556 U.S. 418, 433-34 (2009) (“The party requesting a stay bears the burden of
25   showing that the circumstances justify the exercise of that discretion.”). Thus,
26   Apple must show that the stay will simplify issues for trial, that the stage of the
27   litigation is appropriate for a stay, and that the stay will not unduly prejudice or
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 1   present a clear tactical disadvantage to RSRI. See Ultratec, Inc. v. Sorenson
 2   Commc’ns, Inc., 2013 WL 6044407, at *4 (W.D. Wisc. Nov. 14, 2013)
 3   (Denying stay where “defendants have not shown that the stay will not prejudice
 4   plaintiffs and will not give defendants a tacit advantage.”)). Apple did not. As
 5   shown below, the Court should deny the motion to stay.
 6         A.      It is pure speculation whether the IPR petition will be granted,
 7                 whether an IPR of all claims will be instituted, or whether an
 8                 IPR will simplify the case.

 9                 1.    Apple’s motion to stay is not ripe.
10         A stay is not warranted simply because a petition for review was filed
11   with the Patent and Trademark Office. Smartflash LLC v. Apple, 447, 2014 WL
12   3366661, at *3 (E.D. Tex. Jul. 8, 2014). “The most important—indeed, the
13   dispositive—factor bearing on the Court's exercise of its discretion in this case is
14   that the PTAB has not yet acted on [the petitioner’s] petition for inter partes
15   review.” Freeny v. Apple Inc., 2014 WL 3611948, at *1 (E.D. Tex. July 22,
16   2014).
17         That is all that Google has done to date—filed a petition for review. There
18   is no IPR for the ’797 patent. Google has only filed a request for inter partes
19   review. Because the USPTO has taken no action regarding Google’s IPR
20   petition, the motion to stay proceedings is not ripe and should be denied.
21         Apple’s request for a stay while Google’s petition for IPR is pending is,
22   “at best, premature.” Tric Tools, Inc. v. TT Techs., Inc., 2012 WL 5289409, at *3
23   (N.D. Cal. Oct. 25, 2012) (denying stay based upon only request for inter partes
24   review), adhered to on reconsideration after inter partes review initiated by
25   USPTO, 2012 WL 6087483, at *1 (N.D. Cal. Dec. 6, 2012). Apple argues that
26   the likelihood that the PTAB will institute the IPR is high based on statistics as
27   of March 2015. (D.I. 65 at 14). But “it would be speculative to extrapolate from
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 1   those initial numbers, expecting that the percentage of granted petitions would
 2   remain the same in the future.” Freeny, 2014 WL 3611948, at *1. In fact, as of
 3   March 5, 2015, the percentage of petitions for IPR being instituted has steadily
 4   decreased from 87% to 74%. (Lo Decl. Ex. E). In the past, even if the IPR is
 5   instituted, not all claims challenged were found unpatentable. See supra Section
 6   II. Apple wants to put these proceedings in “a kind of limbo” pending likely
 7   denial of at least part of Google’s request. That should not occur.
 8         “Although, as the Federal Circuit noted, some district courts have granted
 9   stays even before the PTAB has granted the petition for review, the majority of
10   courts that have addressed the issue have postponed ruling on stay requests or
11   have denied stay requests when the PTAB has not yet acted on the petition for
12   review.” Freeny, 2014 WL 3611948, at *1; see, e.g., Smartflash, 2014 WL
13   3366661, at *3; Ultratec, 2013 WL 6044407, at *3; Automatic Mfg. Sys., Inc. v.
14   Primera Tech, Inc., 2013 WL 1969247, at *3 (M.D. Fla. May 13, 2013); Tric
15   Tools, 2012 WL 5289409, at *3; DTP Innovations, LLC v. V.G. Reed & Sons,
16   Inc., No. 3:14–cv–364, 2014 U.S. Dist. LEXIS 167713 (W.D. Ky. July 17, 2014);
17   Segin Sys., Inc. v. Stewart Title Guar. Co., 2014 WL 1315968, at *3–4 (E.D. Va.
18   Mar. 31, 2014); Rensselaer Polytechnic v. Apple Inc., 2014 WL 201965, at *5
19   (N.D.N.Y. Jan. 15, 2014); Dane Tech., Inc. v. Gatekeeper Sys., Inc., 2013 WL
20   4483355, at *2 (D. Minn. Aug. 20, 2013); Benefit Funding Sys. LLC v. Advance
21   Am., Cash Advance Ctrs., Inc., 2013 WL 3296230, at *2 (D. Del. June 28, 2013);
22   Horton, Inc. v. Kit Masters, Inc., 2009 WL 1606472, at *1 (D. Minn. June 5,
23   2009); Return Mail, Inc. v. United States, 2014 WL 3563297 (Fed. Cl. July 18,
24   2014).
25         RSRI should be able “to prosecute its claims, to take discovery, and to set
26   its litigation positions, at least until such a time as the USPTO takes an interest
27   in reviewing the challenged claims.” Automatic Mfg, 2013 WL 1969247, at *3.
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 1   Granting a motion to stay before the USPTO even decides to act raises the issue
 2   of “allowing the progress of [the Court’s] docket to depend on the status of
 3   proceedings elsewhere [which] can interfere with its obligation ‘to secure the
 4   just, speedy, and inexpensive determination of every action.’” Universal Elecs.,
 5   943 F. Supp. 2d at 1035 (quoting FED.R.CIV.P. 1).
 6         Another consideration is the court’s ability to control its docket to ensure
 7   that cases are managed in the interest of justice. The court is concerned that
 8   allowing the progress of its docket to depend on the status of proceedings
 9   elsewhere can interfere with its obligation “to secure the just, speedy, and
10   inexpensive determination of every action.” FED.R.CIV.P. 1. Thus, “[i]f litigation
11   were stayed every time a claim in suit undergoes reexamination, federal
12   infringement actions would be dogged by fits and starts. Federal court calendars
13   should not be hijacked in this manner.” Universal Elecs., 943 F. Supp. 2d at
14   1035 (quoting Comcast Cable, 2007 WL 1052883, at *1).
15                2.    Whether the IPR will simplify any issues is pure speculation.
16
           The Court has only Apple’s conjecture on how and if IPR can simplify
17
     this case. “To truly simplify the issues…the outcome of the reexamination must
18
     finally resolve all issues in the litigation.” Esco Corp. v. Berkeley Forge & Tool,
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     Inc., No. 2009 WL 3078463, at *3 (N.D. Cal. Sept. 28, 2009) (citing Yodlee, Inc.
20
     v. Ablaise Ltd., No. 06-07222 SBA, 2009 WL 112857, at *5 (N.D. Cal. Jan. 16,
21
     2009)). “[T]he filing of an IPR request by itself does not simplify the issues in
22
     question and trial of the case. Ultimately, the PTO may not institute IPR
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     proceedings.” SAGE Electrochromics, Inc. v. View, Inc., 2015 WL 66415, at *2
24
     (N.D. Cal. Jan. 5, 2015) (quoting TPK Touch Solutions, Inc. v. Wintek Electro-
25
     Optics Corp., 2013 WL 6021324, at *4 (N.D. Cal. Nov. 13, 2013)).
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 1          The USPTO may deny the petition, may grant a petition in part, or may
 2   grant a petition as to all claims of the ’797 patent. 37 C.F.R. § 42.108(a). “The
 3   undecided status of the petitions clouds the simplification inquiry. While courts
 4   have granted stays before the USPTO has issued a reexamination order…the fact
 5   that the petitions have not yet been granted or denied makes it more difficult to
 6   predict whether the issues are likely to be simplified.” Universal Elecs., 943 F.
 7   Supp. 2d at 1033; see also Automatic Mfg., 2013 WL 1969247, at * 2 (“[E]ven if
 8   all the grounds in a petition are well-taken, the USPTO may authorize the review
 9   to proceed on only ‘some of the challenged claims’ or on only ‘some of the
10   grounds of unpatentability asserted for each claim.’”). Only if the USPTO grants
11   inter partes review will the Court know the scope of that IPR and any potential
12   for simplification. See Ultratec, 2013 WL 6044407, at *3 (“the fact that the
13   Patent Office has not yet granted the petitions to review the [subject] patents
14   adds an additional layer of doubt whether the inter partes review will even
15   occur, let alone whether it will simplify the issues or reduce the burden of
16   litigation for the parties or the court”).
17          Apple’s motion to stay assumes that Google’s request for IPR, and the
18   IPR, will have a high likelihood of invalidating one claim. (D.I. 65 at 15). Apple
19   again speculates that the likelihood of a claim being invalidated would be at least
20   one of the asserted claims in the litigation. According to the USPTO’s statistics,
21   that presumption is both improper and unlikely to be borne out. See supra
22   Section II.
23          Even if the claims survived the IPR, Apple is not identified as a RPI and is
24   not estopped from re-asserting the same invalidity arguments (or arguments that
25   could have been raised) from the IPR. 35 U.S.C. § 315. The petitioner of the IPR
26   is Google Inc. Apple has not agreed to be bound by any estoppel provision,
27   which would arguably allow Apple to take multiple bites at the invalidity apple.
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 1   See Pi-Net Int’l, Inc. v. Focus Business Bank, No. 2013 WL 4475940, at *5
 2   (N.D. Cal. Aug. 16, 2013). “With no estoppel requirement here, [Apple] would
 3   be at liberty to bring to the court the same arguments that were, or could have
 4   been, raised by [Google] with the PTAB. This ability to assert the same
 5   positions in a different forum defeats one of the intended benefits of inter partes
 6   review, should any claims survive inter partes review.” CANVS Corp. v. United
 7   States, 118 Fed. Cl. 587, 594 (Ct. Fed. Cl. 2014) (citing PersonalWeb Techs.,
 8   LLC v. Google, Inc., No. 5:13-cv-1317-EJD, 2014 WL 4100743, at *5 (N.D.
 9   Cal. Aug. 20, 2014); see also Interwoven, Inc. v. Vertical Computer Sys., Inc.,
10   2012 WL 761692, at *3 (N.D. Cal. Mar. 8, 2012) (denying stay where estoppel
11   did not apply). As a result, this factor favors denial of a stay.
12         B.     A stay would prejudice RSRI.
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           “For a stay to be granted in the face of prejudice to the non-moving party,
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     the moving party must make out a ‘clear case of hardship or inequity in being
15
     required to go forward.’” Robert Bosch Healthcare Sys., Inc. v. Cardiocom,
16
     LLC, No., 2014 WL 3107447 (N.D. Cal. July 3, 2014) (internal citations
17
     omitted). The key factor regarding whether to grant a stay is the impact to the
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     nonmoving party. See e.g., Pi-Net, 2013 WL 4475940, at *4 (“Despite [if] the
19
     first two factors weigh[] in favor of a stay, if [the patentee] would face undue
20
     prejudice as a result of the stay, the court would be compelled to exercise its
21
     discretion to deny the stay.”). Courts expect defendants to “evaluate whether to
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     file, and then to file, IPR petitions as soon as possible after learning that a patent
23
     may be asserted against them.” TPK Touch Solutions, Inc., 2013 WL 6021324,
24
     at *4. Without diligence in preparing an IPR petition and researching the
25
     asserted patents, the patent owner is prejudiced. Id. RSRI would be prejudiced
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 1   by a stay because—now, almost a year into this litigation—the amount of time it
 2   would take to vindicate its rights will likely be extensive.
 3         Despite knowing of RSRI’s ’797 patent since at least July 16, 2014 and
 4   Google Inc.’s petition for IPR since at least December 19, 2014, Apple delayed
 5   filing its motion to stay for three months from Google Inc.’s IPR and eight
 6   months since suit was filed against Apple. Apple could have immediately filed
 7   its own IPR petition and moved to stay this case, but instead delayed in doing so.
 8   Id.; see also Fujitsu Ltd. v. Nanya Tech. Corp., 2007 WL 3314623, at *3 (N.D.
 9   Cal. Nov. 6, 2007) (denying stay when reexamination was sought nine months
10   after commencement of litigation and noting that “Nanya should not succeed in
11   obtaining a tactical advantage over Fujitsu by continuing to delay these
12   proceedings.”).
13         RSRI has until April 20, 2015 to file its response. Then, the PTAB has
14   three months to decide whether to institute. 35 U.S.C. § 314(b). Next, the PTAB
15   has 12 months to issue a final written decision. 35 U.S.C. § 316(a)(11). This
16   time period for a final written decision, however, can be extended up to an
17   additional six months. Id. Given the massive backlog at the PTAB, this is a
18   distinct possibility. (See Lo Decl. Ex. H). Under this scenario, the IPR would
19   conclude in January 2017—two and a half years after RSRI filed suit. But of
20   course, either party can appeal the decision to the Federal Circuit. 35 U.S.C. §
21   319; 35 U.S.C. § 141(c). And the Federal Circuit can, additionally, remand back
22   to the PTAB, if, for example, it disagrees with the PTAB’s claim construction,
23   further extending the length of the IPR. See Ultratec, 2013 WL 6044407, at *1
24   (“Altogether, the inter partes review procedure may take two years and appeal to
25   the Federal Circuit could extend the timeline further.”). All told, it is impossible
26   to predict how long this IPR, if granted, would last. It may last until well over
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 1   two and half years after RSRI brought suit to vindicate its rights. Accordingly,
 2   this consideration weighs against a stay.
 3         Both RSRI and Apple compete as innovators in the field of mobile
 4   imaging technology. Rothschild Decl., ¶ 3. But unlike Apple, RSRI is not a
 5   multinational conglomerate. RSRI does not own factories or other revenue
 6   streams. Unlike Apple, RSRI has not posted record-breaking quarterly profits in
 7   the history of all companies. (Lo Decl. Ex. I). RSRI consists of an individual
 8   inventor, Leigh Rothschild, who personally funds his patents, which are his most
 9   important asset. Id. at ¶¶ 4-6. Leigh Rothschild’s ability to provide for his family
10   directly depends on being fairly compensated for his technological work and
11   inventions. When his inventions are exploited without permission or
12   compensation, the courts are the only practical means available to Mr.
13   Rothschild to seek relief. Any delays in the judicial process more heavily
14   burdens Mr. Rothschild than Apple, prolongs the period of unlicensed
15   exploitation, and jeopardizes his family’s livelihood. Id. at ¶ 6. This factor also
16   favors denial of a stay.
17
           C.      The case should not be stayed at this juncture.
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19         This case has been pending for almost a year and the parties have already
20   spent considerable time and resources drafting and responding to dispositive
21   motions, response to a motion to transfer, response to a motion to stay pending
22   resolution of transfer, and discovery requests and objections. Apple withheld
23   discovery on the basis that its request for transfer was unresolved. (Lo Decl. Ex.
24   C, D). Now that the case has been transferred, Apple will now withhold
25   discovery until the petition for IPR is resolved. Such dilatory tactics should not
26   be allowed.
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 1         The case management conference will occur around two months before
 2   the PTAB’s decision whether to institute the IPR. Discovery will be well
 3   underway before the PTAB’s decision whether to institute the IPR.
 4         Though this case may be in its early stages due to the motion to transfer
 5   and Apple’s dilatory tactics, if even a short stay is granted until the PTAB
 6   decides on the IPR Petition, “it provides the non-moving party with little
 7   comfort in those cases where the PTO does grant review. In such cases, the fact
 8   that the review proceedings are in their infancy forces the non-moving party to
 9   wait not only for a PTO decision on the challenged claims but also for the
10   preliminary decision on whether to even hear the challenge.” Straight Path IP
11   Group, Inc. v. Vonage Holdings Corp., 2014 WL 4271633, *2-*3 (D.N.J.
12   2014)(quoting Davol, 2013 WL 3013343, at *2 n.3).
13         As stated supra in Section III.B, it is too speculative at this moment to
14   determine how long this IPR, if granted, would last. If initiated, Google’s IPR
15   can continue until the end of January 2017 and beyond if appealed. See Ultratec,
16   2013 WL 6044407 at *1 (“Altogether, the inter partes review procedure may
17   take two years and appeal to the Federal Circuit could extend the timeline
18   further”). As such, the patent owner should at least be able to prosecute its
19   claims, to take discovery, and to set its litigation positions, at least until such a
20   time as the USPTO takes an interest in reviewing the challenged claims. Straight
21   Path, 2014 WL 4271633, at n.2; see also Automatic Mfg., 2013 WL 1969247, at
22   *3. By allowing some initial discovery to proceed before the USPTO makes its
23   determination would help this Court better decide whether a stay would simplify
24   the issues for trial. McRo, Inc. v. Bethesda Softworks LLC, 2014 WL 1711028, at
25   *3 (D. Del. May 1, 2014).
26         Delaying this action now does not enhance efficiency nor support the
27   purpose of Federal Rule of Civil Procedure 1: “to secure the just, speedy, and
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 1   inexpensive determination of every action.” For this reason as well, Apple’s
 2   motion to stay should be denied.
 3
     IV.   CONCLUSION
 4
 5         Apple’s motion to stay is premature of the USPTO’s decision and is
 6   prejudicial to RSRI. The filing of a petition for IPR alone will not simplify the
 7   issues in this case. Accordingly, the Court should deny it or at the very least,
 8   allow RSRI to continue to take discovery, and set its litigation positions, at least
 9   until such a time that the USPTO makes its decision on Google’s IPR petition.
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 1   Dated: April 2, 2015           Respectfully submitted,
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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on this date I electronically filed Plaintiff’s Response
 3   in Opposition to Defendant Apple Inc.’s Motion to Stay Pending Inter
 4   Partes Review with the clerk of court for the United States District Court,
 5   Northern District of California, using the electronic case filing system of the
 6   court. The electronic case filing system sent a “Notice of Electronic Filing” to all
 7   attorneys of record who have consented in writing to accept this Notice as
 8   service of this document by electronic means.
 9
10   April 2, 2015                           /s/ Jill F. Kopeikin
     Date                                   Jill F. Kopeikin
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